 

Case 8-17-77690¥reg Doc 1 Filed 12/12/17 Entered 12/12/17 15:40:46

 

 

» .u§£¢§§i‘éizi‘§z€iog§
v . v united élates Bankruptcy Coun forthe: ' 111 ,_.‘\_\' 1’1;.*’“
._-A§‘\"E- N Dislri¢:tofls E\A'zl?g\¢- Z%\_\g EE `2 p ;E*._

Case number urwwn). Chapter__ \ \ cl Check if111is_` l_s an

pate ed f ling

 

 

   

Off"lcia| Form201 » 1 1 ,
Voluntar'y?l"e'tition for Non-lndiv_idua|s Fiiing for Ban_krup_tcy q_a/@s

'if more space is needed, attach a separate sheet to this fonn. 0n the top of any additional pages. write the debtor’s name and the case
number (it known). For more lnformation, a separate document, Instructions for Bankruptcy Fomrs for Non-lndivlduals, is availabie.

1. Debtor‘s name \/n~i£€t~\‘i" D\ GA\~\\O QuAL.\F'|E'D UIAL EUMT€M 4, `~ v

 

z. Ail.other names debtor used
in the last 8 years

 

 

include any assumed names.
trade names. and doing business
as names

 

 

 

 

3. `Debtor"s federal Employer '7
identification Number (EIN) g 2 _ "é 53"°3_0 Z_

4_ Debfor.'s address Principai place of business Mailing address, if different from principal place
of business

l Pn~l€ Pon~\'i"

 

 

 

Number Sv'eet Number Street

v P.O. Box
l\\lS$E-.‘¢R\)OL~\)EN\I 117%0 _,
Cify S\Ete ZlP Code Cify state _ `Z|p code .

Location of principal assets, if different from

 

 

 

 

 

 

 

 

 

 

 

" r__ principal place of business
é-uF`\- 0 L. i<
County
Number Street
City Slate ZIP Code
5. Debtor's website (URL)
6_ Type of debtor n Corporation (inciuding Limited Liabi|ily Company (LLC) and limited Liabiiity Partnershlp'(LLP))
cl Partnership (exciuding LLP)
WOther. Spec`rfy: 'i` QU$°'"
Ochla| Form`20‘i Voluntary Petiiion for Non-|ndividuais Fiiing for Bankruptcy page 1

 

 

Case 8-17`-77690-reg Doc 1 Filed 12/12/17 Entered 12/12/17 15:40:46

l 'l ' Deb_to't,.?" Vl ENT D"CN`| lo avA'L\ nw ?M"AL Case number (irirrrown)
- " -"i',"° 6'~§\1> E~e'r; "r’izi)e‘r ‘

A. Check one:
7~. D_escribe'debtor’s business 1

n Health Care Business (as defined in 11 U.S.C. § 101 (27A))
cl Sing|e Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
Ei Rourded (oe defined in 11 u.s.c. § 101 (44»

El stockbroker las denned in 11 u.s.c. §101(53A»

|Zl commodity eroker (as defined in 11 u.s.c. § 101(6»

El clearing Bank (as defined in 11 u.S.c. § 731(3))

E'None of the above

v -,,», ~ 1,; ~1- ~»1: .` , )..

B. Check ell that epply:

   

 

 

El rex-exempt entity (ee described in 26 u.s.c. § 501)

n investment company. including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

n lnvestrnent advisor (as defined in 15 U.S.C. § 80b~2(a)(11))

    

   

C NAiCS (North'Arriencan industry tilassitication~$yste'm) fl-digit`code'that best descn es debtor. Seen
hgp;LL\MML/. uscourts ggv[fg§1r-gigll-n§tional-as§ocie;ion-naics-coges .
»e-
_i>_'l= _ _ §H
o s. Unde'r;yvhich chapter of the Check one: g -
Bankruptcy Code is the 1

debtor filing? cl Chapter 7
4 cl Chapter 9

- g Chapter 11. Check all that epply.

CI Debtor‘s aggregate noncontingent liquidated debts (exciuding debts owed to
insiders or attiiiates) are less than $2, 566, 050 (amount subject to adjustment on
4I01/19 and every 3 years after that).

|:l The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor ls a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statementl and federal income tax return or if ali of these
documents do not exisl, follow the procedure in 11 U.S.C. § 1116(1)(B).

 

[:l A plan is being filed with this petition.

 

l:l Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

cl The debtor is required to tile periodic reports (for exampie, 10K and 1OQ) with the
Securilies and Exchange Commission according to § 13 or 15(d) of the Secun`ties
Exchange Act of 1934. File the Attachment to Voluntary Petltlon for Non-lndlvlduals Fiiing
far Bankruptcy under Chapter 11 (Otliclal Form 201A) with this form.

cl The debtor is a shell company as det' ned in the Securities Exchange Act of 1934 Ruie

 

 

 

 

 

 

 

 

12b-2.
Cl Chapter 12 n
sr Were' prior bankruptcy cases B_No
-- filed by or against the debtor
Wlfhln the la_Sf 8 years? n Yes' Dism'°i When Case number
MM/ co /wYY
if more than 2 cases. attach a _ ,
separate list Drsmct When ~ Case number
1 1 MM/ nn / YYYY
111,_ Are any bankruptcy cases § N°
*_pending' or being tiled by a
business partner or an Y°S» 09wa Reiaiionehip
affiliate of the debtor? D-|sm When
¢List all cases. if more than 1, MM ' DD / ' ' ' '

attach a separate |ist. ease numbor, if known

Ofticia'l'Form 201 Voluntary Petition for Non-individuais Fiiing for Bankruptcy page 2

 

j . CaS€ 8-17-77690-l’eg DOC l Filed 12/12/17 Entel’ed 12/12/17 15240246

 

- De'l_:`tor' V/N C§"l'\' v ig Ad_»_‘a @\qu-\FEV FEK$FNAL Case number ri:i¢nowo)
gear oevc£ arn/vS‘\‘

11,;1».Wi,iy is~the case filed in this Check all that SPPLVJ
4 distrch g Debtor has had its domiciie, principal place of business, or principal assets in this district fqr,1t30_1da'ys» " ‘ `
§ ~l` ' ' immediately preceding the date of this petition or for a longer part of such 180 days than-in any'other `_
district 1 .

n A bankruptcy case concerning debtor's afEliate, general partner, or partnership is pending in this_'d`istrict_.:

 

1_2. Doés the debtor own or have [| No

.P°.rs.,si`essi°n °f any real §Yes. Answer below for each property that needs immediate attention. Attach additional sheets if.neede_d. - 7
property or personal property 1
fhaf__,n€,ed$.lmmediaf° Why does the property need immediate attention? (chook elmer eppiy.)
attention?

El it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or_ safety._
What is the hazard?

 

 

Cl it needs to be physically secured or protected from the weather.

n it includes perishable goods or assets that could quickly deteriorate or lose value without _ »
attention (for example, iivestock, seasonal go'ods, meat. dalry. produce, or securities-related »
assets or other opiions).

8 otherF’Oi€F/li.izf‘st-E AI~\D §A-LE.'

Where is the property? l 191 ",'E PO) N T

 

 

 

Number Street
Nl§§EQuoarvE N~Y 117%40 _
City State ZiP Code 1 . _
is the property lnsured?

n No
8 YeS. insurance agency C O{~\» §"T A‘ L A'/>-'EN \ 5 A'l/t/t fhr~/oi'='

Contact name A Lj §$A

l _
Phone CGZ\ 3 a l"' _S`OD§

 

 

 

 

 

 

§ta¢is¢lcal and administrative information

1131 Débtor§s estimation of n Check one:

availab\° funds El Funds will be available for distribution to unsecured ereditors.

cl Alter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors;_,

 

 

 

, N 1149 1 Cl 1,000-5.000 C| 25,001-50.000
“- E:g;;§t;d ““"'b°" °f El so-se iii 5.001-10.000 El 50,001-100,000
' El 100-199 El 10,001-25,000 Cl iviore than1oo,ooo
El 200-999
_ _ El so-sso,ooo E 51.000,001-$10 miiiion El 3500.000,001-31 biiiion

15~' E.St"“‘“@°d assets Ci sso,oo1-s1oo.ooo Ci s10,000,oo1-$so miiiion _ Ci si.ooo.ooo,oo1-s1obinion
El s1oo,001'-$500,000 El sso,ooo,oo1-s1oo miiiion U $1o.ooo,ooo,'oo1-sso biiiion~
Ei ssoo.ooi-s1 miiiion El sioo.ooo,oo1ssoo miiiion 121 iviore than 550y oiiiion

 

Officia| Foim 201 Voluntary Petition for Non-individuals Fiiing for Bankruptcy page 3'

 

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

 

 

 

§ n 1
ii j\:
Debtor y IN 5EN:l 12 tc ;£ bn 0 Q\)&L \ FL‘E 2 Case number (irlo-rowni
"""° PE'R&ON A L R'c’éi DEr\/dE 'TYL¢)ST' l
7 _ _ __ _ D so-$so.ooo ®' 51.000,001-$10 milton - Ei $500,000,0011s1 biiiion
. 7 15 Est‘ma*°d"'ab"'t'°s L`.i sso,ooi-$ioo,ooo Ei 510,000,001-$50 million Ei $1,000,000,001-$10 biiiion _-
Ci $100.001-$500.000 Ei sso,ooo,ooi-swo rniiiion LT.i $10.000.000._001-550 biiiion
Cl $500,001-51 miiiion Ci $100,000.001-5500 miiiion Ei iviore than soo biiiion

 

 

_ -_hequest for Relief, Deelaration¢ and signa¢“'es

WARN|NG -- Bankruptcy fraud is a serious crime. Maklng a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152. 1341. 1519. and 3571.

17- De°\a."§.ti°n and signature °f The debtor requests relief in accordance with the chapter of title 11, United States Code. specified in this
authorized representative of . . '
1 petition.
debtor
la l have been authorized to file this petition on behalf of the debtor.

l have examined the information in this petition and have a reasonable belief that the information is true and.‘~-'
correct " " d

l declare under penalty of perjury that the foregoing is true and correct.

Executedon ill lll£¢\j
Mrvi /oo YY¥Y

x_%émz~?_.%@¢&eu£' \/mcaorr F. DiCANiO

Signeture of authorized representative of debtor Printed name

riiie "l"iz;ge'rEE

 

 

 

 

 

 

 

 

 

1s. Signature of attorney X Date
Signature of attorney for debtor MM IDD IYYYY
Printed name
Firm name
Number Street
City Stalie ZiP Code
Contact phone Emaii address
Bar number State

 

, Oiiiciai Form 201 Voluntary Petition for Non-individuals Fiiing for Bankruptcy page 4

_ .CaseS-l?-??€QO-reg Docl Filed12/12/17 Entered12/12/1715:40.:4»6 »

l

ie-

 

 

 

 

 

 

 

 

` :K£ed dio?ee £Igfu€y"c?dfo?h; oisiriet egglqu

 

Fil| in this information to identify tire case:

n Check ifthis is anr"

 

 

 

_Cas'e number1(ifknown): amended filing l-
__Ofi”iciai Form 204
` |Chapter 1 1 or Chapter 9 Cases: List of creditors Who Have the 20 Larg'es_t
Unsecured Cl_aims and Are Not insiders , izris

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 L_l. S. C. § 101 (31). Aiso, do not include cia__ims_ by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

 

 

 

 

 

 

 

 

 

 

 

 

 

`,,.M.~.~_..M -... . . _ . ~. 1 .. ,,,,, ‘ ’

 

 

 

 

 

Oflic_iai Form 204 Ch`apter 11 or Chapoer 9 Cases: List of Creditors who Have the 20 Largest Unsecured Clalms page 1' . .

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

 

Debtcr v h| 0 w " L Case number (ramwm

Nnme

renew 111 Ee;lv@voe 'mvef

 

   

 

 

 

 

 

5. 5 2
1 ; ':
1 1
; _

       

 

 

 

 

 

   

 

   

 

   

 

 

 

 

 

 

 

 

 

   

'11'.
1 z ‘
; §
. 1 1
_.._*~._1.…____. ~ .. … m 1
_112,.
1131 1_
1 ‘ § ;
§.._.,.,i .~.¢...__- .-..._1~1¢_.. »..._..a W_., ~ »_ ~ ~» ~ ~ '~~~ § z
114 1 "
1 1
§ 1
§ 1‘ :
1 ,
i
1~-»~ ~1~ ---~~~»-»~-- ~ -~ ~- ~ ~ - _
g
116. .
'17 .

   

 

 

'19

 

 

 

 

 

 

§ \

 

 

 

Ofiicial Form 204 Chapter 11 or Chapter 9 Cases: Llst of Creditors Who Have the 20 Largest Unsecured Cialms

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46 - `

   
  
     
      
      
 

 
 

Fil| in this information to identify the case:

1`1`;111;1'1,_1,“1;1`1,\¢@¢ 016111;111> av».¢,n=.ep PERQQ~AL

r< nance 'rlwé l
unned mg:alankmptcy conn forthe: C A§T'E¢N DisrlcwrN€W

(Sia‘.e)

 

Gase number (li,kncwn):

 

Elfche¢i<'if`.tiiei§ edf l`
ame'nd'ed;li|ih'g`»`{- '

 

Offi_ciai Form ZOSSum l ` .;1

,Sumn!ary_of Assets and Liabiiil:ies for _Non-individuais 1 12115

msummary of Assets

 

 

1. Schedule A/B: Assats-Real and Personal Proparty (Of‘iicial Form 206A/B)

 

 

 

 

 

 

 

;_- 7 1a, Realproperty: |L .`_ l
_"_j Oopy line 88 from ScheduleA/B ..................................................................................................................................... $-_'(L-~'-\' W ` ,
1b. Total personal property: $
Copy line 91A from ScheduIeA/B .......................................................... . .......... ..
1c.Tota|_ofallproperty: s l,(, M“_um ‘ n _ ` '
Copy line 92 from ScheduleA/B ..................................................................................................................................... - . -

 

 

 

~ _ msummary of Liahiiities

 

 

2. Schedul_e D: Credltors Who Ha ve ClalmsSecured by Properfy (Oliicial Form 206D) "/ k 11
Copy lhe'foial dollar amount listed in Column A. Amaunt of claim, fromime 3 of Schedule D .............................................. 3 M__

 

 

 

3. Schedule E/F: Credltors Who Have Unsecured CIaims(Ofiiciai Form 206E/F)

3a. Total claim am ounts of priority unsecured claim s:
` Cop"y"th`e total claims fromParl 1 fromline 5a of Schedule E/F ....................................................................................

  

ab. Totaj am ount of claims of nonp riorify am ount of unsecured claims: 0
Ccpy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ......................................................... + 5

 

4. Total 11ab111:1¢s 2

Linesz+-,Ba+ 3b .............................................................................................. 3 570 § la f tv

 

 

 

` Official Fo`rm 2068um Sum m ary of Assets and Llabillties for Non-individ uais pa'ge' 1

 

 

 

 

   

 

 

 

Case §17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

 

Fi|l in this information to identify the case:

bewrnameMMMMu£ML

` RB§ i DE`N&E ’\`WG"'
' united states Bankruptcy court for ther § &Tefl.t~i oisirict of “§:W 1 ' ’

Case' number (if known):

      

amended;j_iiiin_ -' v

 

orrician=i.orm»zosA/B
".Sche"d`ule AlB:y Assets - Re_al and Pers_o_nal Property

Dlscl_ose all property, real and personal, which the debtor owns or in which the debtor has any other legall equitable, 'o_r tuture` into
ali property l`n which the debtor holds rights and powers exercisable for the debtors own benefit Aiso include assets and propertl _ 7 7
no book valu, such as fully depreciated assets or assets that were not capitalized in Scheduie AIB. list any executory contracts or unexpired
` iea_s_es_. A_ls 'list them on S_chedule G: Exe¢_:utory Cantracts and Unexplred Leases (Ofticial Fo_rm 2086).
B_e as complete end accurate as possible. it more space is noeded, attach a separate sheet to this fom\. At the top of any pages added, write
7 the debtor‘s name and case number (if known). Also identify the form and line number to which the additional information applies if an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

 
 
   

 

 
 
 
 
 
 
  

h h h Pa` 17‘71`, list each asset under the appropriate category or attach separate supporting schedulesll l m '
c v _on sch dnie, that gives the details for each asset ln a particular category.` List each asset onl
_`;defd t the value of secured claims Se`e the instructions to understand the terms used i

    
 
   

 

 

ry

cash rand cash equivalents

 

` 1.--. boss the»'debtor have any cash or cash equivalents?

n No. Go to PartZ.
a Yes. Fi|| in the information below.

 

77 7 eq " lvalents owned or controlled by the debtor

2. C_ash on hand
3.~ Checking;»s,avlngs, money market, or financial brokerage accounts (Identify aID

v Name of institution (bank or brokerage tim\) Type of account Last 4 digits of account number
3.1. `
3.2. `

 

MM

: 4. other cash equivalents (ldenrrry am
4.1.
4.2.

 

 

 

 

. To_tal _ot Rart 1
' Add line‘sZ through 4 (inciuding amounts on any additional sheets). Copy the total to line 80.

 

 

 

"D';,,ep_c,)sltsv and prepayments

orifices the debtor have any deposits or prepayments?
E| No. eo to Part a.
n _ .Yes. Fil|'ln the information beiow.

7. Deposits, including security deposits end utility deposits
Descriptlon, including name of holder of deposit

7 i.1. '

` 7_.__2

 

 

_~ W;.'.M ~s<¢.… ,.

 

Ofiicial` Fo`rm 206AIB Schedule AIB: Assets _ Real and Personal Property

 

 

 

Case.8-17l77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46.

 

:Dehtor VlN N_(EN’\" b\LIANLO avmlF/ED PER§ONAL Case numborrrimwni
"“'“° RES i 17ch ~r~fwe-r'

8 Prepayments, including prepayments on executory contracts leases, lnsurance. taxes, and rent
a Descrlptlon, lnciurhn`g name ot hoiderof prepayment
8. 1
a. 2

 

 

 

§9. ~To§i of Part 2.
" Add iinés 7 through a. copy the ioiai io iino 81.

 

 

 

.. ‘.'-=‘¢"’_.\,"l!¢_$v receivable

  

b . `l`:ioes the debtor have any accounts receivabie?
a No. Go to Part 4.
El Yes. Frii in the information beiow.

 

11. A`cc_eunts receivable

: 11a. 90 days old or less: - = ........ -) $
' ' face amount doubtful or uncollectible accounts

 

_ 11a Over 90 days oid: - = ........ -) $
face amount doubtful or uncollectible accounts

 

j 12. Total.of Part3
` 77_Current value on lines 11a + 11b = line 12. Copy the total to line 82.

v ii lrrvestrnents
§~'~` 131 boss the debtor own any lnvestments?

m No. Go to Part 5
n ¥es. Fill ln.the information beiow.

 

 

 

 

      

 

 
    

: 14. Mutual funds 'or publicly traded stocks not included in Part1
Name of fund or iocir:
14.’1. 451 _ A $

14'.`2.`

 

 

 

15. dion-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLCl partnershlp, or joint venture

l ` ,Name of entity. % of ownership:

 

 

 

1s.i. -N l A % 5 77 b '_., 1
'15;2; ‘ , % 77

' 16. Govemment bonds, corporate bonds, and other negotiable and non-negotiable
' . § instruments not included in Part1

De_s'cribe: _ '7 ., 77_
niA s _ ~

16.2.

   

 

 

l z 17. Tota_l of Fart 4
Add lines 14 through 16. Copy the total to line 83.

/r,, ;. -_.- ,. ,. .7.… ,\ .i_u. .._.i

 

 

 

 

is " ' ' Cmcial Form~206A/B Schedule AIB: Assets _ Real and Personai Property

 

 

Case 8¥17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46 v . ..

 

` "Debtor` y V( EGEQT 12 l QP! 10 121/eliot Fl/E-> Case number til/omni
7 "'"" PERSONAL 2351 peace "ri>-i)é"l"

  
 
 
 

ngen_tory, excluding agriculture assets

 

 

.D¢e$ the debtor own any inventory (exciuding agriculture assets)?
. No. Go to ii’art 6.
" a ll Y'o`s Fiii_ in the information ooiow.

 
 
 
 

oate»o`r`thé"ié§t _.Ne"t'hlo,okvé 'e,of~j: vann=izivn~rnen

 

 

 

 

 

 

 

 

 

 

 

physical inventoiy ` `.de`btor',s'ini\e['eet torucurr`é'nt`valiie;
. _ ~ (Where availabie) '
_ ii 19. Raw materials
a M' M /mew' .
20.-' Workin'p_rogrese
_ M'M' /n'o' /YYYY"_ $ 5
. Finished goods, including goode held for resale
» ,. MM mn/YYW 5 s
` ' 22. Other inventory or supplies
MM lon/YYYY_ $ $
7 23. TotaiofParts $
" ' Add`iine`s-ie through 22. copy the total to line 84.

 

 

 

24. ls any of the property listed in Part 5 perishable?
No

: l n Yes
` 7 »25, Has any of_ the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

B'No

 

   

7 _ n Yes. Book value Valuation method Current value
' 2|6. Has‘any of the property listed in Part 5 been appraised by a professional within the last year?
' ' 7 , No
n Yee

lFa_i_'_ri'iing_~an¢| fishing-related assets (other than titled motor vehicles and land)

   

' ' 27 Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
‘ § `No'. G'o` to Part 7.
n Yes. Fil| in the information below.

    

_ 7 z 28. iCrops-`oither planted or harvested

 

 

29..' "i-'ann animals Examp!es: Livestock, poultry, farm-raised isn

 

 

 

3 $
30_4 F7arm machinery and equipment (Other than titled motor vehicles)
. , ,. s s
v317‘-3 _Fa`rrri and fishing supplies. chemicals, and feed l

V 7 v \ s ‘ $

 

 

 

'32.. qthe_r farming and fishing-related property not already listed in Part 6
' s $

Ofnciai'Fon'n 2d6A/B Scheduie AIB: Assets- Reai and Personai Property pagej§~i‘ '

 

 

 

 

CaSe 8-17-77YO-reg Doc 1 Filed 12/12/17 Ehtered 12/12/17 15:40:~46 .

‘_"7.
l.

n n Debtbr ~: lt \l NC£QT v\£lqi~ho clle mp Case numberwknawni
` < "*"“° Fe';zsool)ert viz i vance ~rrz\)§r'

 

33:- rotar_ or Pan\s.
' _,Ad`piinos 28 through 32. copy the total to lino 35.

 

 

§ 34-."1'l's"'_t7iie debtor a member of an agricultural cooperative?
l rio
7a Yes. is a_ny of the debtor‘s property stored al the cooperative?

n No

. . n Yes

'.' `u."' Ha'e'any of the property listed in Part 6 been purchased within 20 days before .the bankruptcy was liled?
n g No

m Yes.' Book value $ Valuation method Current value $

 

 

36:- is a depreciation schedule available for any of the property listed in Fart 6?

8 No`

Cl Yes.

721 37. 5 Has any_ of the property listed in Part 6 been appraised by a professional within the last year?

a No
cl Yes

 

' 3 36ljoes th`e.debtor own or lease any oflioe iurniture, tixtures. equipment, or collectibies?

' &No. Go.to Part 8.
§ , El 'Yos. Fiii in the information heiow.

   
 

N_eu.=ookv‘aiiie'df:~ .v=`riuauonrnoihou_g
dbbtor§intoros _ .uo__aorfo ur'ro vai'u

     

 

 

: .. (VVhore availabie)) '
l 39. 'otrioo furniture

__ s $
- .' 40. office lintures
.: s $

41 . Qfllce.equipment, including ali computer equipment and

communication systems equipment and software
, $ $

 

42,_. §oliécti_bies_iExamp/ues: Antiques and tigurines; paintings. prints, or other
§ artwork; books, pictures. or other art objects; china and crystal; stamp. coin.
§ o_r:base_bali card coilec_tions; other collections, memorabilla. or coilectibles

 

 

 

 

 

 

 

 

 

 

 

42.1 s s
42.2 _ s $
7 42.3 § $
43'.'_ "rotai or_Part 1. -
r- '= Aau‘iine'o,as'through 42. copy the total to line ae. $ 1
'. 44.1 is`~a depreciation schedule available for any of the property listed l" Part 7?
Ei No
n ,Yes
45_ Has.any of. the property listed in Part 7 been appraised by a professional W"hin the last year?
:' n No
El Yes

Ofiicial'Fonn 206AlB Schedule NB: Assets-- Real and Personai Property page 45 .7`~':‘5:‘..~7 ':' . ~

 

 

 

Case 8-17-77690-?€9 Doc 1 Filed 12/12/17 Ehtered 12/12/17 15:40:46_ ~

    
  
  
  
  

Debtor" V l Nc§_NT- bi and 10 Q\-)A bi FlE D Case number trrkhown)
"‘“"° PE@ONAL 1225 \V€i\/C-E *VP»\)?T

7 kchinery, oqr_ripm'ent, and vehicles

 

_7 4 goes the debtor own or lease any machinery, equipment or vehicles?

‘§No. soto Part 9.
D-`,Y_es. _l-'rll in the information below.

   

 
 

riot book"yaiu "
debtor'a inteu

nd identilication~numbers (i.e., VlN. (Where availablé)

 

‘ 47. Automoblies, vans, trucks,_ motorcycles, trailers. and titled farm vehicles

 

 

 

 

471.1;3>1'} A ' $ $'
47.2_ $ $
473 s `s
/ 7'47.'4'7» s s

 

48. llllatercraft. trailers, motors, and related accessories Examples: Boats
trailers. motors, floating homes. personal watercraft, and lishing vessels

4a.1`i`\7}A s

48.2 -' $

     

49. Alrcraftand accessories

 

 

   

 

 

u 7 49.1 N_]A $

1 49.2 s S

50 Other __m"ac_hlnery. tixtures, and equipment (exciuding farm

~ machinery and oquipment)

s s

51. roei of Part a. $
Add lines 47 through 50. Copy the total to line 87.

 

 

 

 

 

52». is a`depreciation schedule available for any of the property listed in Part 8?
n Yes-
'.,.i-las anyiot the property listed in Part 8 been appraised by a professional within the last year?

__ '_No
U_`Yes

    

~`<j`frioiar ,r=orrn zoeAle schedule Ala: Assots __ Roar and Porsonar Property page -s. "

     
    

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

v Z..De`btor' n I\/ b F’ E Casenumber(mown) n , -7
_ “ “‘“‘°PERM~/BL B:Ezii>€voc=l mvé'i" '

b property

 

 

   

 

5_4§5ijoe's7:the debtor own or lease any real property?
` El N0.6010`Pari10.
§ Yes. Fili' iri the information beiow.

    
  
 
 

,'fAny hullding, other improved real estate or land which the debtor owns or in which the debtor has an interest

§ Ne't hook value of’~j_ Valuatlon meth` l
for current va_lu

 

v’AwmirvN r_Er'il:`i% '
$
$

 

$

 

5516. s $

 

` 7_56. 31010| of Part e.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheeis. Copy the total to line 88.

 

 

 

 

57.- is a depreciation schedule available for any of the property listed in Part 9?
_ No
7 Cl Yes
58 Haa any of the property listed in Part 9 been appraised by a professional within the last year?
1 : n No
91 Yes

 

 

 

 

 

59.7 "Doe`s the debtor have any interests in intangibles or intellectual property?
7 §Nt). 670 to Pan 11
E] Y_e_s Fm in the information beiow.

   

Net_ book value ot Valuatlon method

 

 

 

  
    

 

 

 

 

 

 

 

 

 

 

 

   

debtor‘s interest
., ,- '- .' - (Where availabie)
60. P.atents, copyrights. trademarksl and trade secrets
, . $
61‘. lnternet_;dorriain names and websites
. . 5 . z 7 .
‘franchises. and royalties 1 n ` '7,_*`~_. - n
_. ., ,_ S s ’ ' "
" .i tidet'o`mer ilsts, mailing lists, or other compilations
' - _ 5 s *
ln`t7 `gibles, or intellectual property s
_7, 77 7 , . s
§65 Goodwill
=v s 77$
v ..I‘rqtalrof P_.qr_c 10. s
§ ` -`§’ Add:iines 60 through 65. Copy the total to line 89.

 

 

 

 

7 » 7 official Form zosA/g Schedule AIB: Assets_ Real and Personal Property iia';g:€`$"`

 

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:_46

Debtor- - V[dc§ Mf]: D)Qqh/\O @AlA’LlFlED Casenumberurkn¢wn)
i "'"‘° '\>Ef<so,~iA\. lz£s\i>€~¢€ mm

§ 67~”$\!30 your lists or records include personally identifiable information of customers (as defined rn 11 U. S C. §§ 101(41A) and 107)?
, g .No
g _ Yes
.;» 68. ls there an amortization or other similar schedule available for any of the property listed in Part 10?
l 1 g No
i[:__l ~Yes
"`.:5 69; Has,any of the property listed in Part 10 been appraised by a professional within the last year?
f_ , C__l, -Yes

;:All ether assets

 

 

   

 

   

des the debtor own any other assets that have not yet been reported on this form?

7 include all interests in executory contracts and unexpired leases not previously reported on this fonn.
g No. Go to Parl12.
n Yes. Fill in the information below.

 

`§ 71. Notes receivable
~ oes_crrpti¢n (inciude name or obligor)

   

 

 

 

 

 

 

Totsi face amount doubtful or uncollectible amount ‘..
.72. T'ax.ref_unds and unused net operating losses (NOL$) :,
Descripl.ion ,(for example. federal, stale. local)
Tax year
Tax year
Tax year

732 interests .in` insurance policies or annuities

 

 

§ 74. 'Causes of action against third parties (whether or not a lawsuit
has beenr liled)

 

Nature of claim
Arn`ount requested s

 

 

75. other contingent and unliquidated claims o_r causes of action of
every nature, including counterclaims of the debtor and rights to
`s`e_t off claims

 

 

'Nature of claim
Amo'unt requested s

 

 

?6. Trusts, equitable or future interests in property

 

 

 

 

 

 

 

$__4
" . other property of any kind not already listed Examples: Season tickets 5
country club membership
$
_,_ $
-_78.' 'ro_tal or`aan11.
_ Add lines 7.1 through 17. copy the total to line 90. $

 

 

 

 

; Has any of the property iisted' m Part 11 been appraised by a professional within the last yeaf?
n No `

- n '...Yee.

   

Oflicial Form 20éA/B Schedule AIB: Assets - Real and Personal Property page-T'I `

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

`ertor w leCFNT D\cAN|OQ.\LA’\-l FI sp n Case number(i/imewn)
y "”'"°P€yq;o,`/{>,\_ RE§i pev@€ Wé'l"

;-__, Summary

 

  

’ iii `Part 12 copy eli er the male from the earlier parte er the ferm.

)

 

.» ci._'rrenrjver.'.p.er

   

 

 

 

 

 

 

 

 

 

personal property
BQ. Cash. cashequivaients, and financial assets. Copy line 5, Part 1. 3
i er. oeposiw and~prepeymenis. copy line 9. Parr 2. $
82. Aceeunie receivable copy line 12. Parr a. 5
83. lrivestmeme. copy line 17. Perr 4. 5
iv 5 84.‘in_v-e_ntory. Copy line 23, Part 5. 5
§ 85. Fermlng and having-related assete. copy line 33, Parr 6. $
86. Oftice furn_iture, fixtures, and equipment; and collectibles. 5
l Copy'lina 43, Part 7.
:' 87. llllachlnery, equipment and vehicles. Copy Ilne 51. Pait 8. $
as, neal preperty. copy line 56, Pan e. . .......... .. -) $-LQ?AL§_ _
89. intangibles and intellectual property. Copy line 66, Part 10. 5 ' n
y ' "90: Aii other assets. Copy line 78, Part 11. '|' S
91. Total. Add lines ao through 90 for each coiumn ............................. sie. $___ + 91,,_ $L&_MLLL-IQN

 

 

 

 

 

 

. t 92; Toei_ei ali property on schedule Ais. Lines era + 91b = 92.

 

 

 

 

 

 

Oflicial.Fonn 206AJB Schedule AIB: Assets-Real and Personai Property page Bj - '

 

 

 

 

 

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46 7_

 

   

 

c_aj`se number (if knewh);

Offic_ia| Form 206D
~-:Schedule D: Creditors Who Have Claims S_ec__ured by- Property

Be` as complete and accurate as possible

m Check if this is a`ri`
amended filing

 

12115 d

   
 

 

1. Do any creditors have claims secured by debtor's property?
Cl No. Check this box and submit page 1 of this form to the court with debtor‘s other schedules Debtor has nothing else to report on this form.
El Yes Fill in all of the information below.

` mt Creditors \lliho Have Secured Claims

a Llst in alphabetical order all creditors who have secured cialms. if a creditor has more than one
` secured ciairn'. list the creditor separately for each claim.

 

 

 

 

 

 

 

l ¢reditor'e name Describe debtor'e property that is subject to a lien ' 4 7
pEN-"‘".NA‘ am 9' \F’.N€ Pon~i'r. N\zeeoeoe»el\i‘l\\m? '>_ Mo_ lL» s l »éwu.uer x
'reditor's mailing address DIQI ;9&0?. 5£¢1` VCE‘ bLk 01

if 09\ tim Ki> 5 i¢'}<\ +Bssv¢ L~Vi` owe ov,€, 006 oo(,, ooi,. 00‘7

Z_£LM_M_];_O_\LEI__ Describe the lien 91-
r:rsH /cyi,i..,.u\i 115'?,\1 ___L__M_i?_&'t£z£;ié§__
Creditor's emeil address, if known iéthe creditor an insider or related pariy? 7 _ o .
No ,;`

. n YBS ` n ':- :_

gate der,t.was incurred MB:, 2 3 2 op% Eanyone else liable on this cia|m? `: * "

._ '» No

/::::e‘r“g'w °fa°°°‘"“ &_2 O_z El Yes. Fiiieur schedurei~i.- cadebrers(oirreiei Fenn zosi-i).

D`o multiple creditors have an interest in the As of the petition filing date, the claim ls: . ~' ’ .

fs,’T'e °P"°Pe"ty? Check allthatapply. ' _ n

iN Yes. §pechy each creditor. including this c d|iorlb ga Convngem t

` and its relative priority.?¢NN\N G€§>E g?;:$:::ted

 

 

.- n E: Creditor's name Pt':' 0 L'E; on li t b sm§`o`ribe debtor’s property that is subject to a lien - _ »\ j 1 ,
. .4 r!£%ge{), 12 £&dl§ vfflrn.t`!iiiQ/\'Ni p/N/E poini'TNl.»'€mo@vE H'l@ve_@§'o,ov° s pie iii\ii>‘l.i_¢::f»{l

 

 

Creditor's mailing address 9121, o 2 92 2§¢1 oog Bl_.=& Q l
P 0 / 00 oc o(» 000
5'¢¢ {IE fha H`g:|¢FFHMFN! De%¢_:rib%thelien "»
\1-7 egg …_LM*/
Creditor’e emall address, if known le the creditor an insider or related party?

 

q No
E… n m
bath debt was incurred A 1, '\, Do@"l’ ls manyone else liable on this clalm?

. hhii.&i»i' ll,')
' _ :;::r:egi»gi'w of account Oq`m |:i Yes. Fill out Schedu!e H: Codebiors (Oii”rcial Form ZOSH).

D°' _mu|gr§)e creditors hav_§ran;g*r_:§';;r the As of the petition filing date, the claim ls:

 

' same property? Check ali that epply.
" in No .' a Contingent
&Yes. Have you already specif ed the relative n Un"qu'\daf€d
priority? n Disputad

a Nc". -_Specify`each crsd'ltor. including this
' creditor. and its relative priority.

 

 

n Yes. The relative priority of creditors` rs
., _specihed on iinea

 
  

 

 

 

 

 

4 l
_ 'i'ota| o he dollar amounts from Part 1, Column A. including the amounts from the Additiona| 3 §§ ép l 5 lé 3'
. ;i - , Page, lfany.

 

 

Oflicial Form 2060 Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of _\_

 

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

Fill in this information to identity the case:

 

51wa "\}",)§r¢ém~ bizarre a';}n»irieo t>mo~m.
lgzil§§ta(es BankruptcyCo munitiong E£§!§M DistnctoN:W1¢ 1

(staie)
Case number
- .(iriinown) "

 

   
  

 

a Check if_this
amended ring -

Of'Hci_al Form -206E/F

',_;S 7 heduie E/F: _C_reditors Who Have Unsecured Claims ,.12/15 .

' vBe as oornplet_eh and accurate as possible Use Part1 for creditors with PR|OR|T¥ unsecured claims and Part 2 for creditors with NONPR|OR|TYrr
unsecured claim_s. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory co 7
o`n Schedule A/B: Assets- Real end Personal Fropeny (Ofiiciai Form 206AIB) and on Schedule G: Executory Contra`cts an'd Unexplred L_eas
(O_fficial Form 2066). Number the entries ln Parts 1 and 2 in the boxes on the ieft. if more space is needed for Part 'i or Part 2, fill out and attac
the Additiorial Page of that Part included in this fomr.

   
 
   
  

List Ail C_reditors with PR|_OR|TY Unsecured claims

" 1 Do any creditors have priority unsecured claims? (See 11 U ..S C. § 507).
9 No'. Go to Parrz.
Cl Yes. Go to line 2.

 

 

 
  

`2; List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. if the debtor has more than __ "'
` ' 3 creditors with priority unsecured claims fill out and attach the Addilional Page of Part 1.

 

  

;, ' Total,claim` »* `1 ‘ Priorityam rr_t
"' _Pl'l°l'iti' Cl'edl¢°\"$ name and mailing address As of the petition filing date, the claim is: s s
' Check all that apply. -
Cl Contingent
n Unliquidated
El Disputed

 

 

 

 

 

Date or dates debt was incurred Basis for the claim:

 

 

La'st 4'digits of account le the claim subject to offset?
number '_______ Cl No

. _ » - , n Yes
Specrfy Code subsection of FR|OR\TY unsecured
ciaim:{i‘i U.S.C. § 507(a)( )

 

 

, m Priority creditor‘s name and mailing address As of the petition filing date, the claim ls: s s
` f » " f check arrrharappry.

n Contingent

n Uniiquidaied

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 El Disputed
Date or dates debt was incurred Basis for the ciaim:
' Lastei'digits of account is the claim subject to offset?
number _________ N°
. n Yes
Speclfy Code subsection of PR|ORiTY unsecured
claim;~ 11 u. s c. § 507(a)( )
Pr\ority't:|'€dit°r'$ name and mailing address As of the petition filing date, the claim is: S $
. _ ' ' Check all that apply.
n Conlingeni
. El Un|iquidated
n Disputed
' 1 pate or`dailes debt was incurred Basis for the clalm:
Lact 4 digits of account n is the claim subject to offset?
number ' _________ N°
Yes

_Specify Code subsection of PR|ORiTY unsecured
,clairri: 11 U. 8 C'. § 507(a)( )

 

 

 

_(_Jiii`clai Form 206EIF Schedule EIF: Credltors Who Have Unsecured Ciaims page 1 o`f'_Q` j »'4~ l

 

_Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46_

  
 
   
 
  

lt d“

.D'ebtor; Y{N cENT o \CA"J\o QVA'L'\_FFEO Case number(irknawn)
. - 4. ""`°PERsoA/A.\.. R€;lf>@~b= 'F'£Vé"'

§§jal__Amoun¢s of the .Priori¢y and Nonpriority Unsecured C|aims

 

 

 

s. Add the amounts of priority and nonpr|orlty unsecured claims.

   

 

 

 

 

1 `_" ' Sa. Tot_al claims from Part 1 5a_
sn. 'r¢w'l claims from Pm 2 sb‘ + s 0
5c Tp§a=_|'of Parts 1 and 2
unje's sa + 5b = sc. 5°~ 5 0

 

 

 

 

 

 

 

 

 

 

 

' ' 4 o?hd§l Fo"nh"'z`osE/F schedule ElF: creditors who Have unsecured clalms

 

  
        
    

 

 

' Ce's_'e number (li known):

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46.;

   

Fill in this information to identify the case;

f :"Debtorname\LLM\/FO iCANl o G?\/ 1414 F LEO PER§ONM
iz€§i D'EN£€ WT'

:' United States Bankniptcy Court for the:

  
 

 

  

rJ DismccafNEW NEW§]OK|'-

(Slate)
Chapter

 

_:Q,rri¢ia'v\~-;Form.zoeo
_ Schedule G: Executory Contracts a_nd Unexpired Leases

 

 

 

 

 

kim

    

"B"e"`as completel"and accurate as `possible. it more space is needed,' copy and attach the additional lpage, numbering theentriescoheecu v,e

    

1. Does the debtor have any executory contracts or unexpired leases?

m No. Check this box and tile this form with the court with the debtor’e other schedules There' is nothing else to report on this form. .
n Yes l-'\|l‘ m all of the information below even if the contracts or leases are listed on Schedule A/B: Assets~ Re`al and Pe_rsonai Prbperty(Oflicial

_ FormZOSA[B).

St_ate what the contract or
lease is for and the nature
'of the debtor's interest

State the term remaining

Lis_t the contract number of
any government contract

 
 
 

 

state the na'm'ef' ~: '
whom the debtor _ha' v

 

 

 

 

 

 

 

 

 

`j»z.z'

` S`tate what the contract or
lease is for and the nature
of the debtor's interest

State the term' remaining

Llst the contract number of
any government contract

 

 

 

 

 

 

 

 

 

 

 

'State` what the contract or

'- ? lease is for and the nature

of the debtor's interest

State the term remaining

Llst the contract number of
any government contract

 

 

 

 

 

 

 

 

 

 

~2`.4

State what the contract or
lease' ls` for and the nature
of the debto\’s interest

Sta_te the terin remaining

. l:lst; the contract number of
any government contract

 

 

 

 

 

 

 

 

 

 

 

b Sl:ate what the contract or
lease is~t'or end the nature
' .of the debtor's interest

.`State the term remaining

List the contract number of
any government contract

 

 

 

 

 

 

 

 

 

 

` binder F`orm' 2066

 

Schedule G: Executory Contracts and Unexplred Leases pa'g"e '1' of_[_

 

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46 < v "~“>~1=

 

 

Fill in this information to identify the case and this filing:

1 chtur _Name` W DT chN\ 0 &V&\ FLH> m"A\"

dn{§€[altes BEgrl\;.n%tzy C;o‘;rt for the: ._B_M__he msu-m °fM(Sm ) M\<
e

Case number (Ir know'n):

   

 

official Form 202
,Deciaratlon Under Penalty of Periury for Non-|ndividu_al Debtors

5 An individual who is authorized to act on behalf of a non-individual debtor, such _as a corporation or partnership, must sign end su mit.

` .this form for the schedules of assets and llablllties, any other document that requires a declaration that ls not included in the document

and any amendments of those documents. This form must state the lndividual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

 

  

WARNlNG- -Bankruptcy fraud is a serious crime. Maklng a false statement, concealing property, or obtaining money or property by fraud _in jj
connection with a bankruptcy case can result in fines up to 5500. 000 or imprisonment for up to 20 years, or both. 18 U. S. C. §§ 152,1341,
1519, and 3571.

" "_-:claration and signature

l am the president. another oft'lcer. or an authorized agent of the corporation; a member or an authorized agent of the partnershlp; or
another individual serving as a representative of the debtor ln this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

Schedule A/B: Assets-Real and Personal Property (Ofi`lclal Form 206A/B)
Schedule D: Creditors Who Have Clalms Secured by Property (Offlcial Form 206D)
Schedule E/F: Cleditors Who Have Unsecured Cleims (Oflicia| Form 206EIF)
Schedule G: Execuioiy Contracfs and Unexpired Leases (Ofticial Form ZOSG)
Schedule H: Codebiois (thcial Form 206H)

Summary ofAssets end Lieblllties for Non-Individuals (thcial Form ZOSSum)
Amended Schedule

Chapter 11 or Chapfcr 9 Cases: List of Creditors Who Have the 20 Lalgest Unsecured Clalms and Are Nof Insiders (Ofiicial Form 204)‘ ,

cl lJ clucl.l:lllelJ

. Other document that requires a declaration

I declare under penalty of perjury that the foregoing is true and correct.

Executed on l?_|izl?¢t$ 17 x %/W ?/fdf;él»{/E*”
M /DD/YYYY

Slgnaturs cf individual signing on behalf cf debtor

V)Nofr\/T F. b ¢CA»r\Jl 0

glinled name

`t*iil)e TE`E'

Position or relationship to debtor

§ th'cial"l'=onn 202 Dec|aratlon Under Pena|ty of Perjury for Non-lndividual Debtors

 

Case 8-17-776'90-reg Doc 1 Filed 12/12/17 Entered 12/12/17 15:40:4_6

Fill in this information to identify the case:

Debtornarne MJ_‘)J cA'N\QM/A'\»\ FlEP PE|Z§DNA'L

 

1 ,:- Ul!§g_tateo Bankrupg'mrt t:e Mbishid ofg¥_ge

_ `Case` number (lf’known):

 

 

 

 

    

smel“¢‘@i?i“"s ,
_Official; Form 207
Statement of Financial _Aff_airs for N_on_-individuals Fiiing for Bankruptcy

bt_or must answer every question. lt more space is needed. attach a separate sheet to this form. On the top of any additional pages',
write the debtor's name and case number (if known).

1, Gross revenue from business

 

  
  

 

 

 
  

A'.g‘dateeo_t',the debtor’s,tisca_l:year§ which ' '

 

 

check ali iii""al’a't§p
Fme the beginning Of'the n Operaiing a business
fiscal year to .flilng date: From to Fl|ing date n other $
MM / bo / YYYY » -_-_--
For prior year: From to Cl operating a business
MM/oD/YYYY lull/oblwi n other 5
F0r the year before that From to n Opelaling a business
MM/oo/YYYY MM/DD/YYYY

El other S_--_-_*

 

2. Non-buslne_ss revenue

include revenue regardless of whether that revenue is taxab|e. Non-busr'ness income may include interest dividends, money collected
from |avlsults`, and royalties Llst each source end the gross revenue for each separately. Do not include revenue listed` in line 1_.

g -None

 
 

 

 

 

 

From the beginning of the
fiscal year to filing date: From to Fl|ing date 5
MM l omva
'For, prior year: From to
. iv MM/bb/YYYY win/bolva 5
For the year'before that: From to
MM/bo/YYYY MMloo/YYYY 5

 

 

 

 

énicial Form 207 Statement of Financlal Affairs for Non-lndlvlduals F|llng for Bankruptcy pagelt _ ~

 

 

 

 

i
i
i
l
i
i
i
l

-Debtor ' V Q\_C_ golf pl Q£N]Q gdh[¢[@ Case number(in¢mwn)

CaS€ 8-.17-77690-reg DOC 1 Filed 12/12/17 Eritei’ed 12/12/17 15240:46

\"°'"°PER,<n/iei. i€'%/V€»J 05 'l’migr"

Llst Certain Tr'ansfers Macle Before Fiiing for Bankruptcy

 

 

 

 

 

_3. Certairl paymens or transfers to creditors within 90 days before filing this case
List payments o'r transfers_lnciuding expense reimbursements-to any creditor, other than regular employee compensation, within 90

-` ‘.adjusted on 4/01/19 and every 3 years after that with respect to cases nled on or alter the date of adiustment.)

d None

 

 

 

 

 

 

 

 

 

_ bates `roiaiarnountor"iilil__rig
3.1. '
8 n Secured debt
C'°m°r‘ name n Unsecured loan repayments
'S'trieer __ n Suppiiers or vendors
n Services
city ' stale ziP case ~__ n O""e'
3.2.
v s n Secured debt
emma name n Unsecured loan repayments
Street n Suppliers or vendors
n SeNiceo
city s`iaie ziP code _ cl O"“”

` -'l.' Pa`yrnenf_s_ or other transfers of property made within 1 year before filing this case that benefited any insider

- List payments or transfers. including expense relrnbursements. made within 1 year before filing this case on debts owed to an insider or
guaranteed or _cosigned by an insider unless the aggregate value of all properly transferred to or for the benefit of the insider is less than ,
$B. 425 (.This amount may be adjusted on 4/01/19_ and every 3 years alter that with respect to cases n|ed on or alter the date of adjustment )

' general partners of a partnership debtor and their relatives; afti|iates of the debtor and insiders of such aftiliates; and any managing agent of
the debtor. 11 U S. C. §101(31).

¢_None

  

 

_ days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6 425. (This amount may be` '

" D'o not include any payments listed` in line 3. Insiders include ofiicers, directors, and anyone in control of a corporate debtor and their relatives; " ‘~;

 

 
   

 

 

 

   

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

35 .’s name`lnd address _ v Dat.es . To_lai amount or value Rea'_e_o`nc`fcr paymentor transfer j :'
4,1. ' ' ` "
. $
_ insiders name
SltBel
city slate ziP code
nimmer ~_ -- - .
4.2.
. v $
insiders name
S\Nel
City Siate ZiP Code

 

 

 

 

 

 

 

‘Ot'iiciai l=orin 207 l Statement of Flnanclai Affairs for Non4ndividuais Fiiing for Bankruptcy page 2

 

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

 

§ P¢'§B-\°\’§-.§§ WU_DLMJ£_QMM Case numbers/mm
'Pzrts'or\/A¢_ K@\r)ae€ 'r'r¢v-z'r'

 

 

5. Repossesslons, foreclosures, and returns
' List §ll property cf the debtor that was obtained by a creditor within 1 year before tiling this case including property repossessed by a creditor;;-.-
' sold at _a foreclosure sale transferred by a deed on lieu of foreclosure, or returned to the seller. Do not include property listed in line 6. "

U None_

 
 
      
 

ami and address ,` . . Description oft.hg property - ' . Da‘te .. .

§§edg?lmn< oos? t£t¢l£_l?.ztu:¢l§\&si@¢££v& MA_))__F__'L$ weis l _¢m¢ve§,.r
MM¢_;K¢£¢Q_LH§:¢=_;LQ§:¢L_.SEQ:QQ&£Q<Q\

Strest
Lo_Qa@_QQ£,__Q!L.M_QQ; »c>¢>?
l+

 

 

 

city s a zl ace _ ' -.
sz. ?3 vesu¢v)'r€\'.> BAN\¢ Auc¢?.&z?-°°g .
greece:ggm 19 159/w vF§m rnlm) ~‘\'N 117‘£¢> __mi&gi'/i¢, st Qm¢u./e\l

|'9 ll SMmB

 

§lk_eé/c onwark?Aezw/+u gap o&Qz= fargo og_i,§¢¢ o\ °°°i
9\))1'1’=`)|,1>4 l L. 005,.007
ew;acems_a_ts_\l_l_zae MM"‘L%'_

 

U
city slate z¢P code
5 Setof_fs

_List a_`_ny creditor, including a bank orr financial institution. that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the deblol‘s direction from an account cf the debtor because the debtor owed a debt.

v None_

 

     

 

 

 

 

r;§'neme'and address Dcscrlptlcn'ofdie action_credltr$r_tcok § ' " § § Date action was
. ';'"'~'~‘ ` ' - ' - ' " ` taken -'~ . ,
$
Cred"ltors name
Streat
Last 4 digits of account number. XXXX-_______

 

_ _7 _ci_ty stale zchoae

  
  

§ 'Legal Ac;lcns or Assignments

ons. administrative proceedings court actions, executions, attachments. or governmental audits
__ _l actions. proceedings, investigations, arbitiations mediations, and audits by federal or state agencies in which the debtor
was involved m any capacity-within 1 year before filing this case.

   

Nature of case Court or agency’s name and address §

 

v\OENN» Ml4< acli
71 V§`, v,~i Y D,§A,\/,§; Fof<€c¢,os;¢g€ genonlN N\ §T‘Prff §v_Q{l-Ew\”' __;txU F'é'hdina
'f_/Eb §§PJ’_QJ_K C
»t>_¢'

 

  
 

 

 

 

 

 

   

 

 

 

 

, / N§%vFFm.. l¢. C' riv a °"aPPel-i¥', 1 `
"t_f Qu$'f'/ E"' RL. met wl `| El concludedv
6`\9\) \'LT' §'T' ILEE"r‘

_ 9 \ Ol

C ty Sta‘ta ZlP Code
Court or agency'e name and address ~- ~:` m pending

N n -dn:appeai .
amc ' ` ' "i

U. condvdsd;~"»."-
street §
city jstate lel code

 

 

 

»¢fl:iciai Fon`n"207 Statcment of Financlal Affalrs for Non-lndlvlduals Fiiing for Bankruptcy page 3_'

 

 

Case 8_-17-77690-1€9 DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

 

Debtor . Vl N¢'Ef"'r Dl €Mlo Q'A'V`Fl‘€p Case number(rrmw,.)
mm PF{lS'¢N{-\L fl€£)€»b€ "TIZ\*$""

 

  
 

8 Asslgnments and receivership

Lis_t any property' in ih_e hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a` receiver. custodian or other court-appointed officer within 1 year before filing this case.

   

 

 

 

 

 

 

 

 

 

 

 

None ` d § h n ` . v
. 91 and address l ' Des¢:ripti'on'of the property Va[u'a_h ' '
$
custodian s name Case title v Court horne and addrea
Street
Name
Caso number . -
C"V Siaie ziP code - ama
Date 'of order or assignment ' 1 . .;
Cif¥ Staio pp code

 

  

:"C`ert_ain Gifts and Charitable Contributions

 

 

7 9. l.ist `aii gifts or _charitabie contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
z v of the gifts to that recipient le less than $1, 000

`¢ Noha

 

 
  

 

 

 

 

 

 

 

ie_nt_'a no_rno ana address Des¢:ription ofthe girls or contributions
::;` _ ' 971' i?edpient_'s name $
street
City Siate ZiP Code

 

 

 

 

,9?2` aeoioiont's name

 

 

Street

 

 

_ Cify Siaia ziP code

 

,-_:jge;_ip,j;i€s€iaiaiian§hrp 111 dam

 

 

 
   

er§ain Losseo

,A:il'ios'se's.from fire, theft, or other casualty within 1 year before filing this case.

g None

 
 
  

rty.iip_£t,anq nbw,u_\b ross _

  

vLis1u`1-1pé1¢`1 f 1osA/B(scnedu/eA/B
Asseis- .Real`andPelsonaiFrop`erry).' '

  

 

 

 

 

 

Ofili¥iél Form' 207 Statement of Financial Affalrs for Non-individuals Fiiing for Bankruptcy pa_ge.4z n

 

 

 

 

 

`pabtor GEN C 9 \/\ g )E 9 Casa number 111111-1111111)

   
 

 

"_Liat any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before v

' seeking bank`ri.`rptoy relief. or ti|lng a bankmptcy case

~~W_'.“?

' 1_1.1.

` 12. Self-se_ttl_ed trusts of which the debtor rs a beneficiary

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

'""“°¢Pa:/z.so»/Ar, tiesth "`F-»\‘ "'

§?Cartain :Payments or Transfers

 

nts` related to bankruptcy

 

the iian of this case to another person or entity, including aitomeys, that the debtor consulted about debt consolidation or restructuring

 

   

paid or_\`i_irir`o`roceiyed the transfer? " if not`mone'y, describe any property transferred

 

 

 

 

 

 

SUBB(

 

 

Cliy Staia ZIP Code

   

Emailor websiteaddmas`: .¢ '

 

 

 

 

if not l'h_¢`i',‘ay';‘ describe any propartytransferrod

 

 

 

 

 

 

 

 

 

 
  

Stai€` Z|P Code

 

hay orwebaiteaddross.

 

  

, . mere the navme?iz;'r'f'i\é{demr`f

 

   
 
    

'i_|st any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before ther filing of this case to
'_a' self-settled tn.rst or similar device.
D_o not include transfers already listed on this statement

l ANo`ne

 

 
 
   

, . " Describo any property b'ansfarred
N`¢'E' m~ '" D 1'6’9».)1 19 Qv/r\'i'r€°
Parzs‘orvm 1161 1ach 'rya>?r l P/N€ PO/ri'r'

Ni%€@vo¢,.z N‘j 117 90

    

pmm 11. wmde

\//Neem 77 DiCA»))o

 

 

 

:Offioiai Form 207 Statement of Financial Affairs for Non-lndividuals Fiiing for Bankruptcy ' page 5

 

 

CaSe 8-17-77690-i’ég DOC 1 Filed 12/12/17 Entei’ed 12/12/17 15240;46

 

 

il'Dj`e'btor . &" . \ Case numberwimwn)
~ ' - "“"1°' l>jl‘s@,tm ¢_ rcasi!oz‘ we -r§rws'r'

13. Transfers n`ot already listed on this statement

Llst any transfers of money or other property--by sale. trade, or any other means-made by the debtor or a person acting on behalf of the debtor__`_r " '
within years before the filing of this case to another person, other than property transfen'ed' 1n the ordinary course of business or1 financial _.'11_fl’airs_.v
include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement '

 

   
  
 

N»'_Nons'

' description of property 7 7 `;sf_érred or payments received 1 z ate
or debts paid in- exchange - " . - ’

 

   

 

13.1 .

 

 

 

 

Siroet

 

 

 

-- "ary. state ziP code

 

 

 

 

1 131

 

 

   

 

_ SerBi

 

 

Cliy` Staie ZiP Code

 

 

 
 
  

d ' evidu_s Locations

_ 11. P_revious addresses

 

Llst all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

m/D.,

   

 

 

 

 

 

D_ate'e 'of occupancy `f 77
' 14.1. From
` $treei 1
'C"Y ' state zu=code
1 .
§ - .14,2.

 

_ . ' From To
l 1 ~ _ _ Straai - .

 

 

Stats ZiP Code

 

 

 

   

Statement of Financial Affalrs for Non-lndlviduals Fiiing for Bankruptcy page 6 ';

 

 

 

Case 8-17-7'7690-1€9 DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46'

Debtor ‘ y¢d§&A/_'i' !>|Qe!'o fzga:kgf lE D Case numberiiri,iown)

"“'“"P£`{Zsi$¢\/,OL RWWG _l`lb\l§rl‘

 

 

 

 

5 .1' Heairh'care Bankruptcie$

' "' 1_5. He_alth ¢are bankruptcies

` is the debtor primarily engaged in offering services and facilities for:

_ diagnosing or treating lnjury, deformity or disease. or

- providing any surgicai. psychiatric drug lreatment. or obstetric care?

7B7No. Go to Part 9.
El ¥es. Fiii in ihe information beiow.

  

- " » debtor provides

 

15.1.

 
  
 

 

 

 

 

 

 

i'=Ta`oTity name
, SM\ \ tL-¢>catii:in where patient records are maintained (if differentfro facili'
address). il‘ electronic identify any service provider 7 7 _7 _ 7
Check all that apply:`-
city stare ziP code ~ n Electronically_

 

m _Paper

" ' Natur_e of th_e business o`p`cration, including type of services th

 

   

  
 

 

 

 

 

 

 

 

" debtor provides
` 15.2. .
' Facillty nrrr'i'iev
Srrcet Location where patient records are maintained ( f different from feel "
‘ addres's). if electronicI identify any service provider

Check ell that apply:

_ 7 civ . Sme le Code g Eleclronicai_iy 7
n Paper

` im Pere`onally identifiable information

;16. Does the debtor collect and retain personally identifiable information of customers?

wNo.

U Yes. S_tate_ the nature of the information collected and retained.
k Dees the debtor have 'a privacy policy about that information?
n No
El' ¥es

   

 

` 1_7. Withi_n 6 years before filing this case. have any employees of the debtor been participants in any ER|SA. 401 (k), 403(b), or other
' pension or profit-sharing plan made available by the debtor as an employee benetit?

' }fl No. eq 10 Pan10.
Yes. Does the debtor serve as plan administrator?

El No. core Paii1o.
E_l Yes_._7 1=111111 below.

 

 

 

'=j? amc of plan " * . ' - Employerlden_ttt]catlon."number of'tl_i°e/pl€e_ ,
E\Ni ___-___________

Has the plan`been-terminated?

n No

El Yes

 

 
 
 

 

 

 

 

 

 

 

' ' 1C`>;rr_iciai F`orm` 207 statement cr Financial Airairs for dion-individuals Fiiing for Bankruptcy page 7

 

 

 

CaS€ 8-17-77690-i’eg DOC 1 Filed 12/12/17 Entei’ed 12/12/17 15240:46

   
    

' _ _ ' NC€\~)’F 0 ic 5 Case number (ifkmn)
"’~".'»‘°‘"‘P€fzs.>A/A¢_ RF§'\Q'EM€_ ~'r£v 'r'

 

 

_‘e'rt'z`lin Flnanclai Accounts`, Safe Deposl¢ Boxes, and Storagé Units

   
  
 

" 1`8. Cl_o`sed financial accounts 7
' z Within 1 year before iiiing this case, were any financial accounts or instruments held in the debtor' s name. or for the debtor's benelit, cios__ed. soid, z

` - moved, or transferred?

, .,inc_iu_de checking, savings money market or other Enancial accounis; certlf cates of deposit and shares in banks, credit unions.
" brokerage houses. cooperatives, associations and other tir iancia| institutions

.'I[.Z\_lt\io`nev

`Laet'4_ digits of account j Type,ol'accou 1 `
`-` number ' ‘- -' ‘

 

15_1_ xXxX_ n checking

Nama n Savings

 

 

 

 

 

 

 

 

 

   

 

.5-§99\ ' l n Money market
cl Bmkerage
city scm z1P code n other
.1132. . XXXX____ ___ _ n Checking _ $

Name n Savings
met ' m Money mad<el

/ ' w n Brokerage
city see zlP cone C| other

- 19.' 8an deposit boxes v . _ ~,
` List any safe deposit box or other depository for securities cash or other valuables the debtor now has or did have within 1 year before iiiing this case

n None

        

n:n{`i:/né:and address . Nan'ies of anyone with access to lt Descript.lon" of11_1e co1119n

   

 

D_No.

 

 

 

 

 

 

Name n YéS `
Street

Address
Clty ' State ZlPCoda

 

 

 

v j :26. 011-premises storage

L`is_t any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
» which the debtor does business.

§ .N,e>ne»

   

vNa‘nj_e’a'ol_'anyone1111itl1,‘ag':c19s_11toit . Descript'i:on“oftije'§ont§n,_.

 

 

Name " D|Y'es" " ""

 

 

‘sueat'

 

 

Address

 

Cle Siate ZiP Code

 

 

 

 

 

'Oftlcia| Form 207 Statement of Financial Affairs for Non-lndividuals Fiiing for Bankruptcy

 

 

 

 

Case 8117-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

.Debtor VZ 'JC€'JT 2 [€&~_/[O QMH l; lc& 0 Case number (llhoownl
"""’? arlst p_ E¢)De~o€ -r ev 91”

 

  

.-.’Froper_'ty t_he. Debtor l'lolds or controls That ¢h_e Deb¢or Does No¢ Own

 

 
 
  

aid for another »
List any property that the debtor holds or controls that another entity owns. inciude any property borrowed lrom.` being stored for, or held lr`l
trust Do not list leased or rented property

m Norl`e

 

.Location of the property 7 ' ' 7 De_sc'rlption ofil'l6 property

 

 

Narne

 

 

Slreet

 

 

 

clly slate zlP code

  

e¢a_il_s l_\bout E_r\vironmental information

 

  
  

 

 

 

4 _"' For lhe,purpos_e or Parl 12 me following oennlllons apply:

` -' ra’ Envlronmenrel law means any statute or governmental regulation that concerns poiiution, contamination, or hazardous material
\ regardless of the medium effected (air, landl water, or any other medium)

l -l. -Site means any location taciiity. or propelty, including disposal sites, that the debtor now owns. operates, or utilizes or that the debtor _
formerly owned, operated, or utilized.

r:l Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant contaminant
or a similarly harmful substance.

Report all notioes, releases, and proceedings known, regardless of when they occurred.

' az l-las r.hedebtor been a party in any]udlcial or administrative proceeding under any environmental law? include settlements and crder's."_ _ l -.
B» No
L'.i Yes. Provrde details below

case title v ' Court or agency'nanle and address Natrrre ol_`tile case

  

 

 

 

 

 

 

 

 

 

Name n On appeal `
elmer cl Con_¢:luded
City Srate ZiP Code

23 lies any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

ml\_io

Cl _Y.es`-. Frovide details beicw.

   

“e and address ‘ Govemm`elmi unit name and addressl Environrrlenral iaw}-lf known :""

 

 

 

 

 

 

Nerne blame
Streel Street
Olty ' State ZiP Code City Stete Z|P Code

 

 

 

 

 

 

Qltlciai':‘l-?Tcnn 207 Si:atement of Financial Aflairs for Non-individuels Fiiing for Bankruptcy page 9'

 

 

 

Case 8:17¥77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:46

Caee number cir/mmi

 

"` ~` bore

vnv¢»€~‘r 1) car/lo O.v Fl'eo
.“~°"‘"PE` ` Are V<’.Eflb "`rerS’r’

 

ali Has the debtor notified any govemmentai unit of any release of hazardous material?
_ lio-
', L_.l Yes. Provide details beiow.

   

_e'"a!`jd address ~ Go\i_ernrnontaiunlt'nanle`and'addrese,_~ Environmontaila‘w,lflriloyi'n

 

 

 

 

 

 

 

Name Name
Street Street
Clty Slate ZlP Code City Srete ZiP Code

  

f,§}`:llefails,Allout the Debtor's Bu`sl_ness or Gonnections to Any Business

 

 

  

- as cher businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner partner, member, or otherwise a person in control within 6 years before filing this case
include this information even if already listed` rn the Scheduies.

§E None

 

Describe the nature oftho business Employer ldentltication number

 

Name'

~ Sd®et

 

 

 

'clly

251 §_

Slate

 

ZiP Code

Descrih_e the nature ofthe business

 

' none

'Simet

 

 

From

 

Ciiy

$tare

 

ZiP Code

  

v Deseribe the nature of thehusiness v Employer identiiieatl

'E_""L

 

 

 

"D§ee§"-E¢l’!'rw§'e t .

 

 

 

Slele

From To

ZiP Code

Do not include Sociai Se_cu`rity numbe

Do_ not include So'cial Seeunty numbe b l

  

 

 
 
 
  

 

- 25_.3.
Nerne`
.Sh‘Eet
. CW
' tc)‘lijorial Fo‘nll.zo?

 

Statement of Financial Affairs for Non-lndlvlduals Fiiing for Bankruptcy

pacelli

 

 

 

 

 

 

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15:40:4_6

 

 

n Debtor v 0 0 €D Case number (lrrmown)
" "'$+,£9~>»/' ore 12le 'r'rw§r‘

26. Books, records, and financial statements
zsa. List ali accountants and bookkeepers who maintained the debtor’s books and records within 2 years before f ilng this case.

n None

 

   

Detee of service

23§1; NC,'\)LL€N 4 §A,NM`“ 1_, LP From H[N 25 To M'l'
Nibs'c RoQ'r'€ rl'z,

§oér_a§lofeesw cain civ ~

   

 

     

 

 

 

 

010 N. -
ity' ' State - iP Code
26a.2
_Namo
Street
city n sale zlP code

 

zeo. List ali firms or individuals who have audited, compiled, or reviewed debtors books of account and records or prepared a tinanciai
statement within 2 years before filing this case.

‘ _ iNorle|

 

     

 

Name

 

Slreet

 

 

Clry State Z|P Code

     

;paw'_s._or‘s;é`~¢@

 

From

 

N&m€

 

Slreei

 

 

 

Ci‘il' slate zlP code

v n -26_c.i_ist ail`linns or individuals who were in possession of the debtors books of account and records when this case is tiled.
f El` iiion`e

 

mw@lal»_€oL/x Dm\/oo)ékr . LL,P
rosa Wom€\lz

 

 

Strcet

l~) v !l"/ ~
0 f 5 67- lo N zchodo-?L ZOLO

ity State

 

 

 

 

 

 

 

birlCia_\ Form 267 Statem`ent of Financial Affairs for Non-lndlvlduais Fiiing for Bankruptcy page 111 l

 

 

CaS€ 8-17177€90-reg DOC 1 Filed 12/12/17 Elitei’ed 12/12/17 15240:46

 

 

 

 

   

 

 

 

 

 

 

 

r\ .., ~;
Debtor V/ N cel\/T D\ 661/10 Q\ZA'I/ l F LED Case number (inololwl)
"““P€E%VQL\QVWE ""/LV S'F'
f rr"":iliv'.l`lbéf
viewable
l zscz
4 Name
v Slreet
Cily State ZiP Code

2'éd.` List ali financial institutionsl creditors. and other partiesl including mercantile and trade agencies, to whom the debtor issued a financial `, _ __` h
‘ .'virithir'l'2 years before filing this case. '

7 '_ >'iNone

 

2Ed.1.

 

 

Neme

 

` Sd€et

 

 

 

Clty Slate ZiP Code

   

’ v gsdz.

 

 

 

 

Clty SlaiB , ZiP Code

 

27..inventories
Have a_ny' inventories of the debtor's property been taken within 2 years before filing this case?
- M' NO,' . v

n Yes. Give the details about the two most recent |nventories.

 

 

 

Narns

 

Slneel

 

 

Ciiy SlEle ' Z|P Code

 

 

 

'Ofliolar.r-f'onn 207 statement of Financial Arrolrs ror lion-individuals Flllng ror bankruptcy

 

 

".'*‘r\

 

 

 

 

" ..28 List_ the debtor's off cers, directors. managing members_, general partners, members' rn control, controlling shareholders. or other

Case 8-17-77690-reg DOC 1 Filed 12/12/17 Entered 12/12/17 15140:46

 

/-
Debtor ¥¢dgb£! D l wylo ‘Q|ZA:[¢ [E lt 0 Case number iirknawn)

"'"‘° p'ezon/Ar. rc€z)p€-Na€ 'rn/vgl°

 

   

  
  
 
  
   

 

gertrr¢rmntory ' ' patent ,» 'rr'r§ ' ' '
` , inventory other basic) of e`a_

$

 

‘ irc has',poes&e_seio-r_'r"of inventory records

27'.2.

 

_ Neme-

 

Sli'BSl-

 

 

City - Stale Z|P Code

people in control of the debtor at the time of the filing of this case.

mm 1~ ‘

 

 

 

 

 

 

` 29 Wlthin 1 year before the tillng of this case, did the debtor have officers, directors, managing members, general partners, rnernbers in contra
of the debtor, or shareholders in control of the debtorwho no longer hold these positions?

§ No
El_ Yes. identify below.

Addre'ee'_'_ 7 '

 

Fl`OiT| TQ

 

From To.
From To

From ‘ T_o' 1

 

 

ao Payjr_nents drstn_butrons, or withdrawals cradrted or given to insiders

Wthin 1 year before filing this case. did the debtor provide an insider with value rn any fomt. including salary, other compensation. draws-,
'bonuses, loans, credits on loans. stock redemptions and options exercised? .

§No

_ El_Yes rdentrry berow.

 

 

 

 

 

 

_Amo`unt of rooney or ,
description and value of_
impde
30.1. »
Name
street

 

 

Stete Z|P Code

 

 

 

 

 

 

   

 

 

§ 'Off|cial,Fonn"207 Statement of Financial Affaire for Non-lndlvlduals Fiiing for Bankruptcy pagel13-' '. ' ' b

 

 

 

 

 

 

Case 8-17-77M DOC 1 Filed 12/12/17 Eiitel’ed 12/12/17 15240:46~

¢°/'"
v '
'Y

Debtor . V[ gm § D| Q:M| o Q V&l¢[£ /€D Casenumber(rrrmawn)
' ` '“"`°\°EIZSoA/AL f?,‘t.?li)€ ucc Tn,v§'r'

 

 

 

 

302

 

NEmB"

 

 

 

Ci\y ` Stati ZiP Code

 

 

 

 

» 1 '3`2_ _With_ln 6 years before filing this case. has the debtor as an employer been responsible for contributing to a pension fund?
'- l:l_ ¥es. identify below.

 
 

Nanre»¢ftns pension run¢i ' " ' emerayerrdén'erreatr'¢nniinissr_"qrtné'_“psnsr¢nt tr;

 

  

liéig'nature and peclaratien

  

 

 

`W§RNlNG~ Bankruptcy fraud ls a serious crime Maklng a false statement concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result rn fines up to $500. 000 or imprisonment for up to 20 years, or both
18 u.SC. _§§ 152, 1341, 1519, and 3571.

v| have examined the lnfomration in this Statement of Financial Ar‘i'arrs and any attachments and have a reasonable be|ref that the lnfor'matron
is true and correct

| declare under penalty of perjury that the foregoing is tnre and correct

Executed on l"?./ ZDI7
MM lDD lYYYY

,_x f _ 4 f

Slgnature of individual signing on behalf of the debtor

"~, vP'o"_"sition or relationship to debtor f 2 &QST"E:E

Printednamevll`-\¢EYVT F`- DJ C A"l\j l 0

Ar additional pages to Statement of Financial AHaIrs for Non-Indr'viduals Fiiing for Bankruptcy (Officlal Form 207) attached?
No
|:l y Yes

 

 

 

 

 

 

`»_' Ofliclal Form 2_07 Statement of Financial Affalrs for Non-|ndlvlduals Fiiing for Bankruptcy page 1_4'

 

 

 

 

Case 8-17-77690-reg Doc 1 Filed 12/12/17 Entered 12/12/17 15:40:46

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.uyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(s)=\l rNcEn/'T ® tCr¢h~iro @thl Ft»i:€r£) igéMW/QJQASE NO.:
ii E§/ m G`E-» "T=`VLU% ala

Pursuant to Local Bankruptcy Rule 1073-2(b),.the debtor (or any other-petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-l and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general l
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under ll U.S.C. § 54l(a).]

U t/NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
D THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

l. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): [Ifclosed] Date of Closing:

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, contirmed, dismissed, etc.

 

 

MANNER IN WHICH CASES ARE RELATED: (Refer 10 NOTE above):

0 SCHEDULE A/B: PROPERTY 'lOFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART l” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

0 SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9_ (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

2. CASE NO.: .iUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [Ifclosed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, contirrned, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

- serranoer A/B: PROPERTY "oFFrcrAL FoRM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY);
' REAL PROPERTY As LISTED rN DEBTOR’S scHEDULE “A/B - PART 1”WH1CH wAs ALSO LISTED IN scHEDULE “”A/B OF
RELATED cASES: ' `

 

' SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE "‘A/B - PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

 

Case 8-17-77690-reg Doc 1 Filed 12/12/17 Entered 12/12/17 15:40:46

 

[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: . JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [Ifclosed] Date of Closing:

 

 

CURRENT STATUS OF RELATED CASE:
' (Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED; (Refer to NOTE ab_ove):

 

SCHEDULE A_/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVlDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEB'I`OR’S SCHEDULE “A/B - PART 1” WHICH WAS ALSO_ LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
indicated elsewhere on this form.

 

 

 

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitioner

/ 119/1155 Y@/M'i“

Mailing Address of Debtor/Petitioner

l\/.yz§@ co rm;¢ …/ /l‘?°@

City, State, Zip Code

V¢!\@alf\l OCDdl hamm but fale{§.

an Address 60 iM
5"ll¢)3&1- <2,7“‘7‘2__,

rea Code and Telephone Number

Failure to fully a_nd truthfully provide all information required by the E. D. N. Y LBR 1073- 2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change' 1n address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

 

Case 8-17-77690-reg Doc 1 Filed 12/12/17 Entered 12/12/17 15:40:46

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Case No.
\ wc€mrbl@e<rdl © @l/A_;_MHE'® Chapter l l
H\ SOMPTL l§-E§/ D§M@E ‘ST

Debtor(s)

 

X

AFFIRMATION OF FILEMS)
All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
inforrnation:
Name of Filer: \//M&§ N"i` Qa[: [:Akll il O
Address: l ’P /M~E Wp ¢`[LT
Email Address: \/6l` i¢;‘a.h 10 é>cl i&Q_l/i 19 bull lai@,r§» L@m
PhoneNumber: (5"9@ )3@_0 »'L'V"?"Z=-

 

 

 

 

Nameofi)ebior(s): \//wm D iC@w/@M ,, E¢:E® ;@Sm§@~/M»
RE§iQ’W\/cf; Wt»c,

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

X/ I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED=
\/I WAS NoT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

Filer’s Signature

 

 

Case 8-17-77690-r€g DOC 1 Filed 12/12/17 E_n'[€l’€d 12/12/17 15240:46

` UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.

Chapter ll l

\/ N<;Eeve acANL© ©WA»i,tF-iri-‘D
l PER€>Q Any RE§ibe:/U&E '=Tiw%‘i“

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
l knowledge

Dated: fb/l?»/l?

 

Debtor

 

l Joint Debtor

S/
Attorney for Debtor

 

USBC-44 ` Rev. 11/15

 

Case 8-17-77690-reg Doc 1 Filed 12/12/17

Rosicki, Rosicki & Associates, P.C.
Attorneys for Pennyrnac Corp.

51 East Bethpage Road

Plainview, NY 11803

Rosicki, Rosicki & Associates, P.C.
Attorneys for Pennymac Corp.

2 Summit Court, Ste. 301

Fishkill, NY 12524

People’S United Bank
100 Motor Parkway
Suite 160

Hauppauge, NY 11788

Jeffrey B Hulse Esq

Attorney for People’s United Bank
295 North Country Road

South Beach NY 11788

Ent€red 12/12/17 15240:46

